We think that the conclusion of Mr. Justice Rogers was correct, and we adopt the decision rendered by him as our opinion.
The alleged newly discovered testimony comes chiefly from two witnesses who were examined as witnesses at the trial before Mr. Justice Rogers, and, in so far as it is not cumulative, could have been had at that trial if inquiry had been made of the witnesses. Moreover, the testimony of one of them, as set out in his affidavit, is so inconsistent with his testimony given at the trial as to materially affect its credibility. The alleged newly discovered testimony set forth in the affidavit of the third witness is not sufficiently important to be controlling.
New trial denied, and judgment rendered on the decision of Mr. Justice Rogers for the defendant for costs.